Case 2:04-cr-20414-SHl\/| Document 72 Filed 07/11/05 Page 1 of 6 PagelD 78
UN|TED STATES DlSTR|CT COURT

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D.G.

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UN|TED STATES OF AMER|CA

-v- 04-20414-02-Ma CLERK~ 95 mrSTfilCi

lime §§Lli§’!ml

BENJAN||N JlMENEZ

Shei|a D. Brgwn, CJA
Defense Attorney

9160 Highway 64, # 12
Lakeland, Tennessee 38002

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Niarch 30, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count

T:tle & section ` Mffe_nse -Md N_thst
21 U.S.C. § 846 Unlawful possession with intent to distribute 09/28/2004 1

in excess of 500 grams of cocaine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the i\/landatory
Vlctims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/12/1978 July 01, 2005
Deft’s U.S. lVlarshal No.: 19899-076

Defendant’s Ftesidence Address:
2624 Oates Drive
Da|las, TX 75228

J////W'~

SAMUEL H. MAYS, JH.
UN|TED STATES D|STR|CT JUDGE

 

ll
July , 2005

This dochent entered on the docket sheet in compliance
with R\a|e 55 and/or 32!b} FHCrP on ""

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Case No: 04-20414-02-Ma
Defendant Name: Benjamin Jimenez Page 2 of 5

IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of sixty-three (63) months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour drug rehabilitation program

That defendant be designated to serve his term of imprisonment at a facility closest
to Dallas, Texas.

The defendant is remanded to the custody of the United States Marshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case NO: 04-20414-02-Ma
Defendant Name: Benjamin Jimenez Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAFID COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shelf
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally sold, used,
distributed or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20414-02-Ma
Defendant Name: Benjamin Jimenez Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

tt. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

‘l3. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crirninal Monetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Furtherl
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shaii seek and maintain lawful full-time employment

3. The defendant shall obtain his General Educational Development (G.E.D.) Diploma.

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20414-02-Ma
Defendant Name: Benjamin Jimenez Page 5 of 5

CR|M|NAL MONETARV PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). AI| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 72 in
case 2:04-CR-204]4 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

April Rose Goode

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Ste. 200

i\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

